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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
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				Go to Today march, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				6mar10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, March 6, 2017
10:00 AM
S16G1498 Heatherly v. The State
S17A0558 Le v. Sherbondy
S16G1452 Croy v. Whitfield County et al.

2:00 PM

S17A0430 Georgia Motor Trucking Association et al. v. Georgia Department of [...]
							
							
									Event Details
									Monday, March 6, 2017
10:00 AM
S16G1498 Heatherly v. The State
S17A0558 Le v. Sherbondy
S16G1452 Croy v. Whitfield County et al.
2:00 PM
S17A0430 Georgia Motor Trucking Association et al. v. Georgia Department of Revenue et al.
S17A0543 Williams v. The State
S17A0664 Sullivan v. The State
&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
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